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                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


UNITED STATES OF AMERICA                             3:20 -cr-245 IM

                v.                                   INFORMATION

JENNIFER LYNN KRISTIANSEN,                           18 U.S.C. § lll(a)(l)
                                                     41 C.F.R. § 102-74.385
                Defendant.                           40 u.s.c. § 1315



                       THE UNITED STATES ATTORNEY CHARGES:

                                           COUNT 1
                                 (Assault on a Federal Officer)
                                    (18 U.S.C. § lll(a)(I))

        On or about July 21, 2020, in the District of Oregon, defendant JENNIFER LYNN

KRISTIANSEN did forcibly assault Agent Victim 1 (AVl), a person designated as a federal

officer under 18 U.S.C. § 1114, while AVl was engaged in, and on account of the perf01mance

of, AV l's official duties;

        In violation of Title 18, United States Code, Section 111 (a)(l ), a Class A Misdemeanor.

                                           COUNT2
                               (Failing to Obey a Lawful Order)
                                    (41 C.F.R. § 102-74.385)

        On or about July 21, 2020, in the District of Oregon, defendant JENNIFER LYNN

KRISTIANSEN did willfully enter in and on federal prope1iy, to wit: the grounds of the Mark
Misdemeanor Information                                                                Page 1
                                                                                     Revised April 2018
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0. Hatfield Federal Comihouse, and failed to comply with the lawful direction of federal police

officers and other authorized individuals;

       In violation of Title 40, United States Code, Section 1315 and 41 Code of Federal

Regulations, Section 102-74.385, a class C misdemeanor.


Dated: July 21, 2020                               Respectfully submitted,

                                                   BILLY J. WILLIAMS
                                                   United States Attorney


                                                ��-
                                                   PAUL T. MAL NEY, OSB #
                                                   Assistant United States Attorne




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